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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


YURI Y. CABALLERO,                         )
                                           )
       Plaintiff,                          )             C.A. No.: 20-11489
                                           )
v.                                         )
                                           )             COMPLAINT
                                           )
OCEANS FLEET FISHERIES, INC.,              )
BLUE HARVEST FISHERIES, LLC                )
and OCEAN GOLD, INC.                       )
                                           )
       Defendants.                         )


                                         PARTIES

       1.      Plaintiff Yuri Y. Caballero (“Caballero”) is a resident of Houston, Texas who,

at all times relevant to this Complaint, was an employee of Defendants Oceans Fleet Fisheries,

Inc., Blue Harvest Fisheries, LLC, and/or Ocean Gold, Inc. Caballero was employed by the

Defendants, served as a Jones Act seaman, and was an assigned member of the crew aboard

the FV Ocean Gold, a vessel owned, operated, or controlled by the Defendants at all times

relevant to this Complaint.

       2.      Defendant Oceans Fleet Fisheries, Inc. is a Massachusetts corporation with its

principal place of business in New Bedford, Massachusetts who, at all times material to this

Complaint, employed Plaintiff and owned, operated and/or controlled the vessel FV Ocean

Gold. Defendant Oceans Fleet Fisheries, Inc. may be served by and through its Registered

Agent Lars Vinjerud, II, 20 Blackmer St., New Bedford, MA 02744.

       3.      Defendant Blue Harvest Fisheries, LLC is a Massachusetts corporation with

its principal place of business in Boston, Massachusetts who, at all times material to this
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Complaint, employed Plaintiff and owned, operated and/or controlled the vessel FV Ocean

Gold. Defendant Blue Harvest Fisheries, LLC may be served by and through its Registered

Agent Corporation Service Company, 84 State St, Boston, MA 02109.

       4.      Defendant Ocean Gold, Inc. is a Massachusetts corporation with its principal

place of business in New Bedford, Massachusetts who, at all times material to this Complaint,

employed Plaintiff and owned, operated, and/or controlled the vessel FV Ocean Gold.

Defendant Ocean Gold, Inc. may be served by and through its Registered Agent Warren

Alexander, 113 Macarthur Drive, New Bedford, MA 02740.

                                       JURISDICTION

       5.      This court has jurisdiction of this action pursuant to the Jones Act, 46 U.S.C. §

30104, as well as the general maritime law of the United States, 28 U.S.C. § 1333. Venue is

proper in the District of Massachusetts pursuant to 28 U.S.C. § 1391(b), because the events

giving rise to Caballero’s claims occurred in this district and the Defendants reside in

Massachusetts.

                                     Factual Allegations

       6.      On May 4, 2020, as a result of Defendants’ negligence and the unseaworthiness

of the vessel, the FV Ocean Gold, Caballero suffered severe injuries and damages, including

injuries to his left knee and lower back, while within the zone of danger.

       7.      At all times pertinent to this Complaint, the vessel on which Caballero was

working, the FV Ocean Gold, was on navigable waters.

       8.      At all times pertinent to this Complaint, the vessel on which Caballero was

working, the FV Ocean Gold, was owned, operated, and/or controlled by Defendants.



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        9.      At all times pertinent to this Complaint, Caballero was a Jones Act seaman

employed by Defendants, was assigned to the Defendants’ vessel, was acting in the service of

Defendants’ vessel, and was acting in furtherance of the mission of this vessel.

        10.     On or about May 4, 2020, Caballero was working as an employee of Defendants

Oceans Fleet Fisheries, Inc., Blue Harvest Fisheries, LLC., and/or Ocean Gold, Inc. onboard

Defendants’ scalloping vessel, FV Ocean Gold, off the coast of New Jersey. While the vessel

was deployed on navigable waters, and while Caballero was contributing to and aiding such

vessel to accomplish its mission, Caballero sustained serious injuries. Specifically, Caballero

was seriously injured when he slipped, fell, and injured his knee and other parts of his body.

        11.     The FV Ocean Gold had uneven grating in the area in which Caballero fell and

the vessel lacked adequate fall prevention safety measures. The vessel only had a stainless

floor which did not provide the protection needed to safely combat the slippery conditions

caused by the fishing operations on the vessel. Caballero suffered serious injuries to his knee,

back, neck, and other parts of his body as a result of the conditions and wrongful conduct

described herein.

                          COUNT I: Unseaworthiness of the Vessel

        12.     Plaintiff repeats, re-alleges, and incorporates the above paragraphs, as if stated

herein and further alleges:

        13.     At all times pertinent to this Complaint, Caballero was acting within the course

and scope of his employment as a scalloping deckhand and was working in furtherance of the

mission for which Defendants’ vessel, the FV Ocean Gold, was deployed on or about May 4,

2020.



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       14.    As the owners and operators of the FV Ocean Gold, Defendants owed Caballero

an absolute and non-delegable duty to provide a seaworthy vessel, equipment, and

appurtenances including tools, equipment, and crewmembers themselves reasonably fit for

their intended use. Defendants breached this duty by virtue of one or more of the following:

              a. The vessel was not properly maintained, inspected, or repaired prior to May

                  4, 2020, despite awareness of safety deficiencies on the vessel, thereby

                  rendering the vessel dangerous and unfit for its intended purpose;

              b. The vessel lacked adequate safety equipment, including but not limited to, a

                  slip prevention measures on the deck and the walking working surfaces to

                  ensure safe floor conditions, thereby rendering the vessel dangerous and

                  unfit for its intended purpose;

              c. Defendants failed to provide sufficient training to workers on the proper

                  operations of bringing in cages safely, thereby rendering the vessel

                  dangerous and unfit for its intended purpose;

              d. Defendants failed to create or enforce sound operations and management

                  practices necessary to provide its crew with a safe place to work, thereby

                  rendering the vessel dangerous and unfit for its intended purpose.

       15.    The unseaworthiness of the vessel was within the privity and knowledge of

Defendant.

       16.    Caballero was injured as a direct and proximate result of the vessel’s

unseaworthiness. Defendants are therefore liable for all damages allowed under the general

maritime law of the United States, 28 U.S.C. § 1333, including but not limited to compensatory

damages, pecuniary damages, loss of support, past and future earnings, loss of services, loss
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of nurture and guidance of dependent children and family, pain and suffering, and all other

damages recoverable by law.

       17.    Plaintiff has been damaged in a sum far in excess of the minimum jurisdictional

limits of this Honorable Court.

       18.    Plaintiff demands a trial by jury on all issues so triable.

       WHEREFORE, Plaintiff demands judgment herein in favor of Plaintiff, and against

Defendants, both jointly and severally, for all damages as are warranted and interest accrued

on such damages since May 4, 2020, and for all costs of these proceedings.

                         COUNT II: Negligence of the Defendants

       19.    Plaintiff repeats, re-alleges, and incorporates the above paragraphs, as if stated

herein and further alleges:

       20.    This is an action for negligence under the Jones Act, 46 U.S.C. § 30104 and/or

general maritime law.

       21.    Defendants owed Caballero an absolute duty to act reasonably in the operation

and maintenance of the vessel and its appurtenances and to provide a safe working

environment. Defendant breached its duties and is negligent, negligent per se, grossly

negligent, and/or reckless for reasons including but not limited to the following:

              a. Failing to provide Caballero and his co-workers with a safe place to work

                  that contained proper and adequately safe machinery, crew, and equipment;

              b. Failing to promulgate and enforce reasonable rules and regulations

                  necessary to ensure the safety and well-being of Caballero and his co-

                  workers;



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              c. Failing to reasonably inspect, maintain and/or repair the vessel and its

                   equipment;

              d. Failing to properly hire their employees, agents, and/or contractors;

              e. Failing to properly train and/or supervise their employees, agents, and/or

                   contractors;

              f. Failing to exercise due care and caution;

              g. Failing to provide adequate safety equipment;

              h. Placing concerns about money and profits of the business ahead of the safety

                   of the crew and vessel.

       22.    Defendants are vicariously liable for their employees’ and/or agents’ acts and/or

omissions.

       23.    The negligent acts causing the loss occurred within the privity and knowledge

of Defendants.

       24.    As a direct and proximate result of Defendants’ breach, Caballero was injured.

Defendants are therefore liable for all damages recoverable under the Jones Act 46 U.S.C. §

30104 and/or general maritime law, including but not limited to loss of support, past and future

earnings, loss of services, physical and mental pain and suffering, punitive damages, and all

other damages allowable by law and any other relief deemed proper by this Honorable Court.

Plaintiff has been damaged in a sum far in excess of the minimum jurisdictional limits of this

Honorable Court.

       25.    Plaintiff demands a trial by jury for all issues so triable.




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       WHEREFORE, Plaintiff demands judgment herein in favor of Plaintiff, and against

Defendants, both jointly and severally, for all damages as are warranted, and interest accrued

on such damages since May 4, 2020, and for all costs of these proceedings.

                              COUNT III: Maintenance and Cure

       26.     Plaintiff repeats, re-alleges, and incorporates the above paragraphs, as if stated

herein and further alleges:

       27.     As a result of the above-described injuries suffered by Plaintiff, he is entitled to

maintenance at a reasonable daily rate, and cure until he reaches the point of maximum medical

improvement.

       28.     Defendants willfully and wantonly disregarded their obligation to pay Plaintiff

maintenance or cure, and they have tendered no such funds to him.

       WHEREFORE, Plaintiff demands judgment against Defendants, both jointly and

severally, in a fair and reasonable amount to pay maintenance and cure owing at the time of

trial, together with interests and costs.

                                COUNT IV: Punitive Damages

       29.     Plaintiff repeats, re-alleges, and incorporates the above paragraphs, as if stated

herein and further alleges:

       30.     Plaintiff is entitled to punitive damages for his claims under general maritime

law because Defendants willfully and wantonly disregarded their obligation to pay

maintenance and cure, and because Defendants’ conduct was grossly negligent, reckless,

willful, wanton, arbitrary, and/or capricious. Defendants were subjectively aware of the

extreme danger posed to Plaintiff and fellow crew members by their conduct. Despite actual

knowledge of the grave risks to Plaintiff and fellow crew members passed by these actions and
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omissions, Defendants not only failed to rectify dangerous safety deficiencies and management

practices, they knowingly and actively facilitated and condoned dangerous actions and work

culture. Defendants flagrantly, maliciously, and consciously disregarded almost certain risk of

harm to crew members of the Vessel.

         31.   All of the conduct warranting punitive damages was within the knowledge and

privity of Defendants.

         WHEREFORE, Plaintiff demands judgment herein in favor of Plaintiff, and against

Defendants, jointly and severally, awarding punitive damages for their wrongful, willful and

wanton actions described herein, together with interests and costs.

                                   Demand for Jury Trial

         32.   Plaintiff demands a trial by jury. 46 U.S.C. § 30104. See Concordia Co. v.

Panek, 115 F.3d 67 (1st Cir. 1997); see also Luera v. M/V Alberta, 635 F.3d 181 (5th Cir.

2011).



                                           /s/ Brian Keane
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